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Counsel for Highland Capital Management, L.P.
                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                             §
In re:
                                                             §   Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                             §   Case No. 19-34054-sgj11
                                                             §
                                 Debtor.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                             §
                                                             §   Adversary Proceeding No.
                                 Plaintiff,
                                                             §
vs.                                                          §   21-03000-sgj
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT FUND
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                     §

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


WITNESS AND EXHIBIT LIST FOR HEARING ON JANUARY 26, 2021                                        PAGE 1 OF 10
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HIGHLAND INCOME FUND, NEXPOINT                             §
STRATEGIC OPPORTUNITIES FUND,                              §
NEXPOINT CAPITAL, INC., AND CLO                            §
HOLDCO, LTD,                                               §
                      Defendants.                          §

               DEBTOR’S WITNESS AND EXHIBIT LIST WITH RESPECT TO
               EVIDENTIARY HEARING TO BE HELD ON JANUARY 26, 2021

         Highland Capital Management, L.P. (the “Debtor”) submits the following witness and

exhibit list with respect to Plaintiff’s Emergency Motion for a Temporary Restraining Order and

Preliminary Injunction against Certain Entities Owned and/or Controlled by Mr. James

Dondero [Docket No. 5] which the Court has set for hearing at 9:30 a.m. (Central Time) on

January 26, 2021 (the “Hearing”) in the above-styled adversary proceeding (the “Adversary

Proceeding”).

         A.       Witnesses:

                  1.        James Dondero;

                  2.        James P. Seery, Jr.;

                  3.        Grant Scott;

                  4.        Jason Post;

                  5.        Any witness identified by or called by any other party; and

                  6.        Any witness necessary for rebuttal.

         B.       Exhibits:

Letter                                       Exhibit                               Offered       Admitted

              Motion for Order Imposing Temporary Restrictions on
 A.           Debtor’s Ability, as Portfolio Manager, to Initiate Sales by
              Non-Debtor CLO Vehicles [Docket No. 1528]

 B.           Transcript of 12/16/20 Hearing




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Letter                                  Exhibit                            Offered     Admitted

             Order Denying Motion for Order Imposing Temporary
 C.          Restrictions on Debtor’s Ability, as Portfolio Manager, to
             Initiate Sales by Non-Debtor CLO Vehicles [dkt 1605]

 D.          Email from James Romey dated September 29, 2020

             Structural and Steel Products UCC Presentation dated
 E.
             September 29, 2020
             Aberdeen Loan Funding Offering Memorandum dated as of
 F.
             March 27, 2008

 G.          Aberdeen Loan Funding Indenture dated as of March 27, 2008

             Aberdeen Loan Funding Supplemental Indenture No. 1 dated
 H.
             as of March 27, 2008
             Aberdeen Loan Funding Preference Shares Paying Agency
 I.
             Agreement dated as of March 27, 2008
             Aberdeen Loan Funding Servicing Agreement dated as of March
 J.
             27, 2008
             Brentwood CLO Offering Memorandum dated as of December
 K.
             18, 2006

 L.          Brentwood CLO Indenture dated as of December 21, 2006

             Brentwood CLO Preference Shares Paying Agency Agreement
 M.
             Dated as of December 21, 2006
             Brentwood CLO Servicing Agreement dated as of December 21,
 N.
             2006
             Eastland CLO Offering Memorandum dated as of March 13,
 O.
             2007

 P.          Eastland CLO Indenture dated as of March 13, 2007

             Eastland CLO Preference Shares Paying Agency Agreement
 Q.
             Dated as of March 13 2007

 R.          Eastland CLO Servicing Agreement dated as of March 13, 2007




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Letter                                 Exhibit                             Offered   Admitted

             Gleneagles CLO Offering Memorandum dated as of October
 S.
             7, 2005

 T.          Gleneagles CLO Indenture dated as of October 13, 2005

             Gleneagles CLO Portfolio Management Agreement dated as of
 U.
             October 13, 2005
             Gleneagles CLO Preference Shares Paying Agency Agreement
 V.
             Dated as of October 13, 2005
             Grayson CLO Offering Memorandum dated as of November
 W.
             28, 2006

 X.          Grayson CLO Indenture dated as of November 30, 2006

             Grayson CLO Preference Shares Paying Agency Agreement
 Y.
             dated as of November 30, 2006
             Grayson CLO Servicing Agreement dated as of November 30,
 Z.
             2006
             Grayson CLO Amendment No. 1 to Servicing Agreement dated
 AA.
             as of October 2, 2007
             Greenbriar CLO Offering Memorandum dated as of December
 BB.
             18, 2007

 CC.         Greenbriar CLO Indenture dated as of December 20, 2007

             Greenbriar CLO Preference Shares Paying Agency Agreement
 DD.
             Dated as of December 20, 2007
             Greenbriar CLO Servicing Agreement dated as of December 20,
 EE.
             2007

 FF.         Jasper CLO Offering Memorandum dated as of June 27, 2005

             Jasper CLO Amended and Restated Portfolio Management
 GG.
             Agreement dated as of November 30, 2005

 HH.         Jasper CLO Indenture dated as of June 29, 2005




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Letter                                Exhibit                             Offered   Admitted

             Jasper CLO Preference Shares Paying Agency Agreement
 II.
             dated as of June 29,2005
             Liberty CLO Offering Memorandum dated as of December 7,
 JJ.
             2005

 KK.         Liberty CLO Indenture dated as of December 8, 2005

             Liberty CLO Class E Certificate Paying Agency Agreement
 LL.
             dated as of December 8, 2005
             Liberty CLO Portfolio Management Agreement dated as of
 MM.
             December 8, 2005
             Red River CLO Offering Memorandum dated as of July 31,
 NN.
             2006

 OO.         Red River CLO Indenture dated as of August 3, 2006

             Red River CLO Amendment No. 1 to Indenture dated as of
 PP.
             October 2, 2007
             Red River CLO Preference Shares Paying Agency Agreement
 QQ.
             dated as of August 3, 2006
             Red River CLO Servicing Agreement dated as of August 3,
 RR.
             2006
             Red River CLO Amendment No. 1 to Servicing Agreement
 SS.
             dated as of October 2, 2007

 TT.         Rockwall CLO Offering Circular (Notes) dated May 8, 2006

             Rockwall CLO Offering Circular (Preferred Share) dated May
 UU.
             8, 2006

 VV.         Rockwall CLO Indenture dated as of May 10, 2006

             Rockwall CLO Amendment No. 1 to Indenture dated as of
 WW.
             October 2, 2007
             Rockwall CLO Preference Shares Paying and Agency
 XX.
             Agreement dated as of May 10, 2006




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Letter                                  Exhibit                            Offered    Admitted


 YY.         Rockwall CLO Servicing Agreement dated as of May 10, 2006

             Rockwall CLO Amendment No. 1 to Servicing Agreement
 ZZ.
             dated as of October 2, 2007

 AAA.        Rockwall CLO II Offering Circular (Notes) dated May 8, 2007

             Rockwall CLO II Offering Circular (Preferred Share) dated
 BBB.
             May 8, 2007

 CCC.        Rockwall CLO II Indenture dated as of May 9, 2007

             Rockwall CLO II Preference Shares Paying and Agency
 DDD.
             Agreement dated as of May 9, 2007
             Rockwall CLO II Servicing Agreement dated as of May 9,
 EEE.
             2007
             Southfork CLO Offering Memorandum dated as of March 9,
 FFF.
             2005

 GGG.        Southfork CLO Indenture dated as of March 15, 2005

             Southfork CLO Portfolio Management Agreement dated as of
 HHH.
             March 15, 2005
             Southfork CLO Preference Shares Paying Agency Agreement
 III.
             dated as of March 15, 2005

             Stratford CLO Offering Memorandum dated as of October 22,
 JJJ.
             2007

 KKK.        Stratford CLO Indenture dated as of October 25, 2007

             Stratford CLO Preference Shares Paying and Agency
 LLL.
             Agreement dated as of October 25, 2007
             Stratford CLO Servicing Agreement dated as of October 25,
 MMM.
             2007

 NNN.        Valhalla CLO Offering Circular dated as of August 17, 2004




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Letter                                   Exhibit                             Offered   Admitted


 OOO.        Valhalla CLO Indenture dated as of August 18, 2004

             Valhalla CLO Supplemental Indenture dated as of July 25,
 PPP.
             2016
             Valhalla CLO Reference Portfolio Management Agreement
 QQQ.
             dated as of August 1, 2016
             Westchester CLO Offering Memorandum dated as of May 30,
 RRR.
             2007

 SSS.        Westchester CLO Indenture dated as of May 31, 2007

             Westchester CLO Preference Shares Paying Agency
 TTT.
             Agreement dated as of May31,2007
             Westchester CLO Servicing Agreement dated as of May 31,
 UUU.
             2007
             NexPoint Strategic Opportunities Fund, Form N-2 Registration
 VVV.
             Statement, filed August 27, 2019
             NexPoint Strategic Opportunities Fund, Form DEF-14A Proxy
 WWW.
             Statement, filed July 10, 2020
             NexPoint Capital, Inc., Form 497 Prospectus Supplement, filed
 XXX.
             March 14, 2018
             NexPoint Capital, Inc. Form DEF-14A Proxy Statement, filed
 YYY.
             April 22, 2020
             Highland Income Fund, Form 497 Prospectus Supplement,
 ZZZ.
             filed July 29, 2019
             Highland Income Fund, Form DEF-14A Proxy Statement,
 AAAA.
             filed April 22, 2020
             Written Consent of the General Partner of Highland Capital
 BBBB.
             Management, L.P., Effective September 21, 2020

 CCCC.       List of Board Memberships

       Response to K&L Gates LLP dated December 22, 2020
 DDDD. [Dondero Deposition Exhibit 12] [Grant Scott Deposition
       Exhibit 3]



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Letter                                 Exhibit                           Offered     Admitted

             Response to K&L Gates LLP dated December 23, 2020
 EEEE.       [Dondero Deposition Exhibit 13] [Grant Scott Deposition
             Exhibit 4]
             Letter from K&L Gates to J. Pomerantz dated December 31,
 FFFF.
             2020 [Grant Scott Deposition Exhibit 5]
             Response to Letter from K&L Gates to J. Pomerantz dated
 GGGG.
             December 31, 2020
             Highland CLO Funding Articles of Incorporation [TO BE
 HHHH.
             OFFERED UNDER SEAL]
             Highland CLO Funding Members Agreement [TO BE
 IIII.
             OFFERED UNDER SEAL]
             Highland CLO Funding Offering Memorandum [TO BE
 JJJJ.
             OFFERED UNDER SEAL]
             Highland CLO Funding Portfolio Management Agreement
 KKKK.
             [TO BE OFFERED UNDER SEAL]
             Highland CLO Funding Subscription and Transfer Agreement
 LLLL.
             [TO BE OFFERED UNDER SEAL]

 MMMM. Declaration of Dustin Norris [Docket No. 1522-1]


 NNNN. Transcript of 01/08/21 Hearing

       Order Approving Settlement with Official Committee of
       Unsecured Creditors Regarding Governance of the Debtor and
 OOOO.
       Procedures for Operations in the Ordinary Course [Docket No.
       339]

 PPPP.       Written Resolutions of Charitable DAF GP, LLC


 QQQQ. Written Resolutions of Charitable DAF Holdco, Ltd

             Highland Dallas Foundation - Unanimous Written Consent
 RRRR.
             [Grant Scott Deposition Exhibit 2]

 SSSS.       Donative Assignment of Interests


 TTTT.       Email string dated December 23, 2020 re Dondero call



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Letter                                   Exhibit                               Offered   Admitted

             Highland CLO HoldCo Org Chart [Grant Scott Deposition
 UUUU.
             Exhibit 1]

 VVVV. Seery Handwritten Notes


 WWWW Dondero text to Seery

             Temporary Restraining Order Against Dondero [Adv. Proc.
 XXXX.
             No. 20-3190, Docket No. 10]
             Plaintiff’s Motion for Contempt [Adv. Proc. No. 20-3190,
 YYYY.
             Docket No. 48]
             Dondero Preliminary Injunction Order [Adv. Proc. No. 20-
 ZZZZ.
             3190, Docket No. 59]

 AAAAA Transcript of 12/10/20 Hearing

             Any document entered or filed in the Adversary Proceeding,
 BBBBB.
             including any exhibits thereto
             Any document entered or filed in the Debtor’s chapter 11
 CCCCC.
             bankruptcy case, including any exhibits thereto
             All exhibits necessary for impeachment and/or rebuttal
 DDDDD
             purposes
             All exhibits identified by or offered by any other party at the
 EEEEE.
             Hearing




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Dated: January 22, 2021.                   PACHULSKI STANG ZIEHL & JONES LLP

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                                           -and-

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